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8                          UNITED STATES DISTRICT COURT
9                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
11    UNITED STATES OF AMERICA, ) Case No. 2:20-cv-01690-DSF(PJWx)
                                )
12            Plaintiff,        ) CONSENT JUDGMENT OF FORFEITURE
                                )
13                v.            )
                                )
14    $2,318,800.00 IN U.S.     )
      CURRENCY SEIZED FROM TWO )
15    SAFE DEPOSIT BOXES AND    )
      $210,050.00 IN U.S.       )
16    CURRENCY,                 )
                                )
17              Defendants.     )
                                )
18
19
            Pursuant to the stipulation and request of Plaintiff United
20
      States of America and Matthew Thomas Beaver (the “Potentially
21
      Interested Party”), the Court hereby enters this Consent
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      Judgment of Forfeiture containing the terms set forth below:
23
            Plaintiff United States of America (“the United States of
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      America”) has filed a Complaint for Forfeiture alleging that the
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      defendants $2,318,800.00 In U.S. Currency Seized From Two Safe
26
      Deposit Boxes and $210,050.00 in U.S. Currency (collectively,
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      the “defendants”) are subject to forfeiture pursuant to 18
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1     U.S.C. §§ 981(a)(1)(A) and (C) and 984 and 21 U.S.C.
2     § 881(a)(6).
3            The Potentially Interested Party has not filed a claim to
4     the defendants, but would have filed a claim to one or more of
5     the defendants if a settlement had not been reached in this
6     matter as reflected in this Consent Judgment of Forfeiture.
7            No other parties have filed a claim to the defendants or an
8     answer to the Complaint for Forfeiture and the time for filing
9     claims and answers has expired.
10           The government and the Potentially Interested Party have
11    now agreed to settle this action and to avoid further litigation
12    by entering into this Consent Judgment of Forfeiture, without
13    the Potentially Interested Party admitting or denying the
14    allegations of the Complaint for Forfeiture.
15           The Court, having been duly advised of and having
16    considered the matter, and based upon the mutual consent of the
17    parties hereto,
18           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
19           1.   This Court has jurisdiction over the subject matter of
20    this action and the parties to this Consent Judgment of
21    Forfeiture.
22           2.   The Complaint for Forfeiture states a claim for relief
23    pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (C) and 984 and 21
24    U.S.C. § 881(a)(6).
25           3.   Notice of this action has been given as required by
26    law.    No appearances have been made in the litigation by any
27    person other than the Potentially Interested Party.          The Court
28    deems that all other potential claimants admit the allegations

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1     of the Complaint for Forfeiture to be true.         The Potentially
2     Interested Party is relieved of the obligation of filing a claim
3     to the defendants and an answer to the Complaint for Forfeiture.
4           4.   The United States of America shall have judgment as to
5     the interests of the Potentially Interested Party and all other
6     potential claimants to the defendants, which are hereby
7     condemned and forfeited to the United States of America.           The
8     United States of America shall dispose of the defendants in
9     accordance with law.
10          5.   The Potentially Interested Party hereby releases the
11    United States of America, its agencies, agents, officers,
12    employees and representatives, including, without limitation,
13    all agents, officers, employees and representatives of the Drug
14    Enforcement Administration and their respective agencies, as
15    well as all agents, officers, employees and representatives of
16    any state or local governmental or law enforcement agency
17    involved in the investigation or prosecution of this matter,
18    from any and all claims (including, without limitation any
19    petitions for remission, which the Potentially Interested Party
20    hereby withdraws), actions or liabilities arising out of or
21    related to this action, including, without limitation, any claim
22    for attorney fees, costs and interest, which may be asserted by
23    or on behalf of the Potentially Interested Party, whether
24    pursuant to statute or otherwise.
25          6.   The Court finds that there was reasonable cause for
26    the seizure of the defendants and institution of these
27    proceedings.
28    / / /

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1           7.    The parties hereto shall bear their own attorney fees
2     and costs.
3           8.    The United States of America and the Potentially
4     Interested Party consent to this judgment and waive any right to
5     appeal.
6           IT IS SO ORDERED.
7      DATED:    May 29, 2020
8
                                         Honorable Dale S. Fischer
9                                        UNITED STATES DISTRICT JUDGE
10
11    Presented By:

12    NICOLA T. HANNA
      United States Attorney
13    BRANDON D. FOX
      Assistant United states Attorney
14    Chief, Criminal Division
      STEVEN R. WELK
15    Assistant United States Attorney
      Chief, Asset Forfeiture Section
16
17    /s/ Victor A. Rodgers          _
      VICTOR A. RODGERS
18    Assistant United States Attorney

19    Attorneys for Plaintiff
      UNITED STATES OF AMERICA
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